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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ROCI-IELLE GARZA, as guardian ad litem to
unaccompanied minor J.D., on behalf of
herself and others similarly situated, et al.
Civil No. l7-cv-02122-TSC
Plaintiffs,

ERIC D. HARGAN, et al.,

Defendants.

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I, _ do hereby depose and state as follows:

l. I submit this declaration in support of my motion for a temporary restraining order.
2. l am 17 years old.
3. I came to the United States from my horne country Without my parents

4. I have been in ORR custody since November.

5. Last week, my doctor informed me that I am in my second trimester of pregnancy and

discussed my options with me, including abortion APcer listening to the options, l
decided to have an abortion
6. l have asked the doctor and my shelter for access to abortion.

7. T 0 date, l have not been allowed access to an abortion provider.

8. l understand that I am quickly approaching the point in my pregnancy after which l will

no longer be able to obtain an abortion in the state where I am located.
9. Iwould like to obtain an abortion as soon as possible

10. I do not want to be forced to carry a pregnancy to term against my will.

CONF|DENT|AL

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ll. I do not want to proceed in court using my real name because I fear retaliation because I
am seeking an abortion I do not people to know that I am seeking an abortion.
12. This declaration has been translated for me so that l know its contents and it states the

truth.

l declare under penalty of perjury that the foregoing is true and correct

Dated: Decernber 15, 2017

' a lane Poe (J.P.)

 

CONF|DENT[AL

